                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                       Plaintiff,

              and

 KUSKOKWIM RIVER INTER-TRIBAL              Case No. 1:22-cv-00054-SLG
 FISH COMMISSION, et al.,

                       Intervenor-
                       Plaintiffs,

               v.

 STATE OF ALASKA, et al.,

                       Defendants.




          ORDER REGARDING AHTNA’S MOTION TO INTERVENE

      Before the Court at Docket 38 is Ahtna Tene Nené and Ahtna, Inc.

(collectively, “Ahtna”)’s Motion to Intervene. Plaintiff United States of America

responded in non-opposition at Docket 44. Defendants State of Alaska, Alaska

Department of Fish & Game (ADF&G), and Doug Vincent-Lang as Commissioner

of ADF&G responded in opposition at Docket 43. Ahtna replied at Docket 45.

      Ahtna seeks “to intervene in this action to defend the application of the rural

subsistence priority guaranteed by Title VIII of the Alaska National Interests Lands




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Conservation Act” (“ANILCA”) as of right1 or, alternatively, seeks permissive

intervention.2 Defendants respond that Ahtna should not be allowed to intervene

as of right because Ahtna “has no protectable interest in the Kuskokwim fishery

and the existing parties adequately represent all perspectives relevant to the issue

before the court.”3 Defendants also respond that Ahtna should not be allowed

permissive intervention because such intervention “would quickly lead to an

unmanageable case and will almost certainly delay the timely resolution of the

issues before the Court.”4

I.     Standards for intervention as of right

       Federal Rule of Civil Procedure 24(a) requires district courts to allow a party

to intervene as of right if the party “claims an interest relating to the property or

transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its

interest, unless existing parties adequately represent that interest.” This rule

requires motions to intervene as of right to satisfy a four-part test:

       (1) the motion must be timely; (2) the applicant must claim a
       “significantly protectable” interest relating to the property or
       transaction which is the subject of the action; (3) the applicant must
       be so situated that the disposition of the action may as a practical

1 Docket 38 at 1–2.


2 Docket 38 at 3.


3 Docket 43 at 3.


4 Docket 43 at 9–10.




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       matter impair or impede its ability to protect that interest; and (4) the
       applicant’s interest must be inadequately represented by the parties
       to the action.5

“[T]he requirements for intervention are [to be] broadly interpreted in favor of

intervention.”6

       The only elements challenged by Defendants are whether Ahtna has a

significantly protectable interest related to this case and whether Ahtna’s interest

is adequately represented by other parties.

II.    Ahtna has a significantly protectable interest.

       Ahtna asserts that it has a significantly protectable interest because it “will

suffer a practical and devastating impairment of [ANILCA’s rural subsistence

priority] as a result of this litigation, in which the State disputes the constitutionality

of the [Federal Subsistence Board (“FSB”)], challenges the federal government’s

authority to provide for ANILCA’s rural priority, and seeks to relitigate Katie John.”7

According to Ahtna, if the Katie John precedent is overturned, it “will result in the

loss of subsistence opportunity for Ahtna subsistence users in their traditional

fishing territories.”8 Ahtna also maintains that invalidation of the FSB “would also



5 Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173, 1177 (9th Cir. 2011) (en banc) (quoting

Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993)).
6 Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 853 (9th Cir. 2016) (second alteration in original)

(quoting United States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004)).
7 Docket 38 at 10.


8 Docket 38 at 11.




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have dire implications for Ahtna members who depend upon that rural priority to

hunt moose and caribou within their traditional territories in order to meet their

customary and traditional subsistence needs.”9

       Defendants contend that Ahtna has no significant protectable interest in this

case because “Ahtna asserts only a general interest in the precedent that this

matter would set—the same interest as any rural subsistence user in Alaska.”10

Defendants maintain that if Ahtna is allowed to intervene, “there would be no

cognizable principle preventing every rural subsistence user in the State from

intervening as a plaintiff.”11

       Ahtna replies that its interest in this case is bolstered by the State’s intent

“to seek to overturn the Katie John trilogy” and points to the State’s recent Request

for Proposals for outside counsel to litigate this case and resolve “the inconsistency

between Ninth Circuit precedent known as the ‘Katie John’ trilogy . . . and the

holding in Sturgeon v. Frost.”12 Ahtna asserts that this demonstrates that the

State’s “desired scope of this litigation extends well beyond the Kuskokwim River”




9 Docket 38 at 11.


10 Docket 43 at 4.


11 Docket 43 at 4.


12 Docket 45 at 3–4 (alteration in original).




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and seeks to affect all rural subsistence priority beneficiaries of Title VIII of

ANILCA.13

       The Court finds that Ahtna has a significantly protectable interest in this

case. Notably, the lengthy Katie John litigation at issue stemmed from Katie John,

an Ahtna elder, and thus Ahtna has unique ties to the precedent that the State

appears to seek to overturn.14 And the outcome of this case will have impacts on

the Ahtna fishing and hunting territories and traditions in ways distinct from the

outcome it will have on the United States and on the existing Intervenor-Plaintiffs.

III.   Ahtna has a sufficiently unique interest in this case that may not be
       represented by the current parties.

       Ahtna asserts that the “rural priority, the Katie John precedent, and the

FSB’s administration of the rural priority on public lands are of particular legal and

cultural importance to Ahtna.”15 Ahtna also contends that the United States may

not adequately represent its interests, because “the United States’ interest in

protecting the primacy of federal law is separate and distinct from Ahtna’s interests

in protecting its way of life.”16 Ahtna maintains that Intervenor-Plaintiffs Kuskokwim



13 Docket 45 at 4.


14 See Docket 38 at 2; Alaska v. Babbitt, 72 F.3d 698, 699–700 (9th Cir. 1995) (“These appeals

arise from the efforts of Katie John, Doris Charles and the other upper Ahtna Athabaskan
Indians of Mentasta Village to continue subsistence fishing at Batzulnetas as they and their
ancestors have done since time immemorial.”).
15 Docket 38 at 14.


16 Docket 38 at 14.




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Inter-Tribal Fish Commission and the Association of Village Council Presidents

may not adequately represent its interests because the existing intervenors’

“interests are focused upon the Yukon-Kuskokwim Region of Alaska, and specific

actions the State is taking to interfere with [both their] ability to have priority access

to subsistence fishery resources on the Kuskokwim River and their co-

management authority with respect to those subsistence fisheries,” which are

“region-specific issues.”17

       Defendants respond that Ahtna has not shown that the United States will not

adequately represent its interests and also respond that the existing Intervenor-

Plaintiffs’ interests are “functionally identical[] to those asserted by Ahtna.”18

Defendants maintain that the geographical differences between the regions of

Alaska represented by the Intervenor-Plaintiffs and Ahtna “are immaterial to the

issues in this litigation” because “[t]he legal principles are uniform, so the

geography is irrelevant.”19 Ahtna replies that “geography is a crucial consideration

when implementing the federal rural priority and recognizing its importance in




17 Docket 38 at 15.


18 Docket 43 at 5–6.  The existing Intervenor-Plaintiffs are the Commission and the Association
of Village Council Presidents. See Docket 29; Docket 37.
19 Docket 43 at 8.




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providing federally qualified rural subsistence users the opportunity to meet their

subsistence needs.”20

       The Court finds that Ahtna and the United States have distinct interests in

the outcome of this case. Moreover, Ahtna and the existing Intervenor-Plaintiffs

do not have identical interests, and there is no assurance that the Intervenor-

Plaintiffs will undoubtedly raise all of the arguments necessary to protect Ahtna’s

unique interests.21

       Finally, the Court finds that Ahtna’s motion to intervene was timely and that

its interests may be impaired by the outcome of this case. The Court grants Ahtna

intervention as of right.

                                        CONCLUSION

       In light of the foregoing, IT IS ORDERED that the motion at Docket 38 is

GRANTED. The Complaint in Intervention filed at Docket 38-1 is accepted as filed.

However, in an effort to prevent cumulative arguments and enhance the efficient

conduct of this case, IT IS FURTHER ORDERED that all Intervenor-Plaintiffs shall

meet and confer prior to the filing of any motion, responsive filing, or merits brief

to determine whether their positions may be set forth in a consolidated document—



20 Docket 45 at 6–7.


21 Callahan v. Brookdale Senior Living Cmtys., Inc., 38 F.4th 813, 821 (9th Cir. 2022) (noting that

when considering whether a party will adequately represent the interests of a prospective
intervenor, courts consider whether the party “will undoubtedly make all of a proposed
intervenor’s arguments”).


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separate filings by these Intervenors shall include a certificate of compliance with

this requirement and briefly describe the need for separate filings.

       DATED this 29th day of July, 2022, at Anchorage, Alaska.

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




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